" €ase 3:24-cv-00101-KHJ-MTP Document 1-1 Filed 02/20/24 Page 1 of 5.
Case 3:24-cv-00101-KHJ-MTP Document 1-1 Filed 02/20/24 Page 2 of 5
YAZND 540*23 * SENTENCE MONITORING * 02-05-2024
PAGE 001 * COMPUTATION DATA * 09:58:07
AS OF 02-05-2024

REGNO..: 73279-112 NAME: VORESS, JOSHUA LEE

FBI NO......-..-> : 345198DB6 DATE OF BIRTH: 05-22-1976 AGE: 47
ARS1.............: YAZ/A-DES

UNIT...........+.: 1 RDAP QUARTERS.....: A0Q7-043L
DETAINERS........: NO NOTIFICATIONS: NO

FSA ELIGIBILITY STATUS IS: ELIGIBLE

THE FOLLOWING SENTENCE DATA IS FOR THE INMATE'S CURRENT COMMITMENT.
HOME DETENTION ELIGIBILITY DATE....: 11-26-2025

FINAL STATUTORY RELEASE FOR INMATE.: 05-26-2027 VIA 3621E COND

WITH APPLIED FSA CREDITS.: 365 DAYS
THE INMATE IS PROJECTED FOR RELEASE: 05-26-2026 VIA FSRDAP CND

---------------------- CURRENT JUDGMENT/WARRANT NO: 010 -~-----~------~----------

COURT OF JURISDICTION...........: VIRGINIA, WESTERN DISTRICT
DOCKET NUMBER...................2 DVAW716CR000017-001
JUDGE... ee eee ee ee ee ee ee ee eee ees DILLON
DATE SENTENCED/PROBATION IMPOSED: 05-19-2017
DATE COMMITTED. ........+.+5e0500442 07-05-2017
HOW COMMITTED...............+..+2 US DISTRICT COURT COMMITMENT
PROBATION IMPOSED...............: NO

FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED.: $100.00 $00.00 $500.00 $00.00
RESTITUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $00.00

=~ 2---------------------- CURRENT OBLIGATION NO: 010 ---~~-------~----------------
OFFENSE CODE....: 391 21:846 SEC 841-851 ATTEMPT
OFF/CHG: 21:846, 21:841(B) (1) (A) CONSPIRACY TO POSSESS WITH INTENT TO
DISTRIBUTE 50 GRAMS OR MORE OF METHAMPHETAMINE (ACTUAL) OR 500
GRAMS OF A SUBSTANCE CONTAINING METHAMPHETAMINE CT-1

SENTENCE PROCEDURE.............: 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 170 MONTHS

TERM OF SUPERVISION.........-..: 5 YEARS

DATE OF OFFENSE.........002e0¢0. 2 02-29-2016

G0002 MORE PAGES TO FOLLOW .
Case 3:24-cv-00101-KHJ-MTP Document 1-1 Filed 02/20/24 Page 3 of 5
YAZND 540*23 * SENTENCE MONITORING * 02-05-2024
PAGE 002 + COMPUTATION DATA * 09:58:07
AS OF 02-05-2024

REGNO..: 73279-112 NAME: VORESS, JOSHUA LEE

COURT OF JURISDICTION..........4. : VIRGINIA, WESTERN DISTRICT
DOCKET NUMBER............+.+..-.--.: DVAW716CRO00054-001
JUDGE. 2... ee ee eee ee eee eee ee ee? DILLON
DATE SENTENCED/PROBATION IMPOSED: 05-19-2017
DATE COMMITTED. .......00000-e00-23 OF7-05-2017
HOW COMMITTED. ............+62.22-2 US DISTRICT COURT COMMITMENT
PROBATION IMPOSED..........eeeee : NO

FELONY ASSESS MISDMNR ASSESS FINES COSTS
NON-COMMITTED.: $100.00 $00.00 $500.00 $00.00
RESTITUTION...: PROPERTY: NO SERVICES: NO AMOUNT: $00.00

mat rn cra CURRENT OBLIGATION NO: 010 --~----------------- nr
OFFENSE CODE....: 391 21:846 SEC 841-851 ATTEMPT
OFF/CHG: 21:846, 21:841(B) (A) (A) CONSPIRACY TO POSSESS WITH INTENT TO
DISTRIBUTE 500 GRAMS OR MORE OF A SUBSTANCE CONTAINING A
DETECTABLE AMOUNT OF METHAMPHETAMINE CT-1

SENTENCE PROCEDURE...........6. : 3559 PLRA SENTENCE
SENTENCE IMPOSED/TIME TO SERVE.: 170 MONTHS

TERM OF SUPERVISION............: S YEARS
RELATIONSHIP OF THIS OBLIGATION

TO OTHERS FOR THE OFFENDER....: C/C TO J-010

DATE OF OFFENSE. ........2-20006- > 05-11-2016

G0002 MORE PAGES TO FOLLOW . . .
Case 3:24-cv-00101-KHJ-MTP Document 1-1 Filed 02/20/24 Page 4 of 5

YAZND 540*23 * SENTENCE MONITORING
PAGE 003 * COMPUTATION DATA
AS OF 02-05-2024

REGNO..: 73279-112 NAME: VORESS, JOSHUA LEE

02-05-2024
* 09:58:07

COMPUTATION 010 WAS LAST UPDATED ON 06-27-2023 AT DSC AUTOMATICALLY
COMPUTATION CERTIFIED ON 06-30-2017 BY DESIG/SENTENCE COMPUTATION CTR

THE FOLLOWING JUDGMENTS, WARRANTS AND OBLIGATIONS ARE INCLUDED IN

CURRENT COMPUTATION 010: 010 010, 020 010

DATE COMPUTATION BEGAN.......... : 05-19-2017

AGGREGATED SENTENCE PROCEDURE...: AGGREGATE GROUP 800 PLRA

TOTAL TERM IN EFFECT............ : 170 MONTHS

TOTAL TERM IN EFFECT CONVERTED..: 14 YEARS 2 MONTHS

AGGREGATED TERM OF SUPERVISION..: 5 YEARS

EARLIEST DATE OF OFFENSE........: 02-29-2016

JAIL CREDIT... ... ccc cee eee ee et FROM DATE THRU DATE
03-21-2016 05-18-2017

TOTAL PRIOR CREDIT TIME.........: 424

TOTAL INOPERATIVE TIME..........: 0

TOTAL GCT EARNED AND PROJECTED..: 724

TOTAL GCT EARNED......... teeeeee? 337

STATUTORY RELEASE DATE PROJECTED: 05-26-2028

ELDERLY OFFENDER TWO THIRDS DATE: 08-30-2025

EXPIRATION FULL TERM DATE.......: 05-20-2030

TIME SERVED... . 2. eee ence ee eee eed 7 YEARS 10 MONTHS 16 DAYS

PERCENTAGE OF FULL TERM SERVED..: 55.6

PERCENT OF STATUTORY TERM SERVED: 64.6

3621E COMPLETE RESIDENT PROGRAM.: 12-06-2023

3621E COMPLETE COMMUNITY PROGRAM: /
3621E RELEASE DATE.............. : 05-26-2027

GO002 MORE PAGES TO FOLLOW
Case 3:24-cv-00101-KHJ-MTP Document 1-1 Filed 02/20/24 Page 5of5

YAZND 540*23 * SENTENCE MONITORING * 02-05-2024
PAGE 004 OF 004 * COMPUTATION DATA * 09:58:07
AS OF 02-05-2024

REGNO..: 73279-112 NAME: VORESS, JOSHUA LEE

PROJECTED SATISFACTION DATE.....: 05-26-2026
PROJECTED SATISFACTION METHOD...: FSRDAP CND
WITH FSA CREDITS INCLUDED...: 365
REMARKS.......: 4/16/20 GCT UPDATED PURSUANT TO FSA. JMM; 3-11-22 DGCT 41D.

F/SNA; 6-27-23 UPDTD 764 E/CMF

GO0000 TRANSACTION SUCCESSFULLY COMPLETED
